                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                                )
                                                        )
                                                        )
v.                                                      )       Criminal No. 3:10-00163
                                                        )       Judge Trauger
[28] MONTEZ HALL                                        )
                                                        )

                                             ORDER

        The court has conferred with the United States Marshal and informs the defendant as

follows. When he was sentenced in this case, he was “borrowed” from the State of Tennessee’s

correction system, where he was serving a 12-year sentence for facilitation of second degree

murder. After his sentencing in federal court, he was returned to state authorities, where he will

remain to serve the remainder of his state sentence. After he completes his state sentence, he

will then be turned over to federal authorities for the service of his federal sentence. His federal

sentence does not run concurrently with his state sentence. Why he is serving his state sentence

in a county jail, as opposed to a state prison, is not clear to the court, but this federal court can do

nothing about where the defendant is serving his state sentence.

        It is hereby ORDERED that, to the extent the defendant’s letter to the court requests

relief from this court (Docket No. 1915), it is DENIED.

        It is so ORDERED.

        Enter this 7th day of December 2012.

                                                        ___________________________________
                                                                ALETA A. TRAUGER
                                                              United States District Judge




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